Case 1:04-cv-01289-.]DT-STA Document 10 Filed 06/06/05 Page 1 of 2 PagelD 13

 

 

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United States Dlstnct Court 1511 ;,.
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BOBBY R. BAKER JuDGMENT lN A clvlL cAsE 356
V.
WARDEN PARKER,et al. CASE NUN|BER: 04-1289-T/Arl

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T IS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 05/23/05, this case is hereby DtSM|SSED for failure to
exhaust administrative remedies. lt is further CERT|F|ED that, pursuant to 28 U.S.C. §
1915(a)(3), any appeal by plaintiff is not taken in good faith and if the plaintiff wishes to
take advantage of the installment procedures for paying the appellate filing fee, he must
comply with the procedures set out in McGore v. Wigglesworth, 114 F.3d 601, 610-11
(6th Cir. 1997).

APPROVED :

@Q/M/).M

JAME .TODD
UNIT STATES DISTRICT IUDGE

ROBERT R. Di TROLIO

 

 

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This document entered on the docket sheet in compliance

with Ruie 58 and/or 79(3) FRcP on fM~§ l_lQ'Ob’ . @

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:04-CV-01289 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Bobby Baker

Riverbend MaXimum Security Facility
# l 133 54

7475 Cockrill Bend Blvd.

Nashville, TN 37243--047

Honorable J ames Todd
US DISTRICT COURT

